        Case 1:11-cv-00829-JB-LFG Document 66 Filed 04/30/13 Page 1 of 2



                           IN THE UNITED
                                  U      ST
                                          TATES DIS
                                                  STRICT CO
                                                          OURT

                              FOR THE
                                  T   DISTR
                                          RICT OF NE
                                                   EW MEXIC
                                                          CO

KATE BRAVERMA
            AN,

                           Plaintiff,

  vs.                                                                    No. CIV 111-0829 JB//LFG

      O NEW MEXICO,
STATE OF
SARAH SINGLETO
             ON, and
JAMES HALL,
      H

                           Defendantts.

                                          FINAL
                                              L JUDGME
                                                     ENT

        THIS
        T    MATT
                TER comess before the Court on iits Memoranndum Opinion and Ordder of

Dismissaal, filed Ap
                   pril 30, 201
                              13 (Doc. 50), in whicch the Couurt dismissed Plaintiff Kate

Braverman’s First Amended
                  A       Com
                            mplaint, fileed Novembeer 7, 2011 (D
                                                               Doc. 21). See Memoranndum

Opinion and Order of Dismisssal at 3.         Because
                                              B       thee Memoranddum Opinioon and Ordder of

Dismissaal disposes of
                    o all parties and issues before
                                             b      the Coourt, the Couurt now enteers final judggment

in this matter.

         T IS ORDE
        IT       ERED that Plaintiff
                           P         Kate Bravermaan’s claims and case arre dismissedd, and

final judg
         gment is enteered.



                                                            ___________________________________
                                                            UNITED SSTATES DIS STRICT JUD  DGE

Parties and
        a Counsel::

Kate Braaverman
Santa Fe, New Mexicco

        Plaintiff
        P         pro se
                      s
       Case 1:11-cv-00829-JB-LFG Document 66 Filed 04/30/13 Page 2 of 2



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